
Opinion by Judge REINHARDT; Partial Concurrence and Partial Dissent by Judge BYBEE.
OPINION
REINHARDT, Circuit Judge:
After he was forced out of his position as an Initial Appearance Hearing Officer for the Maricopa County Superior Court, Vernon Harris unsuccessfully sued the Superior Court and the other defendants for violations of, inter alia, his rights under Title VII of the Civil Rights Act and the Fourteenth Amendment. Defendants then sought substantial attorneys fees and costs from Harris, and were awarded over $125,000 in fees and costs by the district court. Harris challenges those awards. Our laws encourage individuals to seek relief for violations of their civil rights, and allow a defendant to recover fees and costs from a plaintiff in a civil rights case only “in exceptional circumstances” in which the plaintiffs claims are “frivolous, unreasonable or without foundation.” See Barry v. Fowler, 902 F.2d 770, 773 (9th Cir.1990) (internal quotation marks, citation omitted); Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 422, 98 S.Ct. 694, 54 L.Ed.2d 648 (1978). Moreover, only fees “attributable exclusively to plaintiffs frivolous claims,” are recoverable by a defen*969dant. See Tutor-Saliba Corp. v. City of Hailey, 452 F.3d 1055, 1064 (9th Cir.2006) (internal quotation marks, alterations and citation omitted). Because the district court both used an impermissible method of determining the amount of fees and costs to be assessed for the claims for which fees were appropriate, and erred in some of its determinations as to which claims were properly subject to a fee award to defendants, we vacate the award of attorneys fees and remand for a new award that complies with this opinion.
I
In February of 2000, Vernon Harris was appointed as an Initial Appearance Hearing Officer for the Maricopa County Superior Court. No employment contract was executed between Harris and the Superior Court, and by statute such Hearing Officers, also known as Commissioners, serve at the pleasure of the chief presiding judge of the court. See Ariz.Rev.Stat. § 12-213. In late 2000 or early 2001, allegations were made that Harris had engaged in inappropriate conduct towards female staff members, had asked his secretary to perform personal errands for him, and had performed his own duties inadequately. In January and February of 2001, Harris was placed on administrative leave, investigated, and, finally, given the option of resigning or being terminated. He chose to resign.
Harris, who is African American, then filed a charge with the Equal Employment Opportunity Commission in which he alleged that he had been discriminated against on account of his sex and his race, which the EEOC dismissed. In February of 2002, Harris filed a complaint in Maricopa County Superior Court, naming as defendants the State of Arizona, Maricopa County Superior Court, Maricopa County, and the Arizona Supreme Court. Defendants removed the case to federal court, at which point Harris filed an Amended Complaint in which he made the following ten claims against the defendants: (1) breach of contract; (2) breach of duty of good faith and fair dealing; (3) hostile and discriminatory work environment; (4) race discrimination; (5) false light/invasion of privacy; (6) wrongful termination in violation of public policy; (7) intentional or negligent infliction of emotional distress; (8) defamation; (9) violation of due process and equal protection under the law; and (10) intentional interference with a business relationship.
The parties then engaged in several years of discovery and legal maneuvering. Of note, in January 2003, Maricopa County was dismissed from the lawsuit on Harris’s motion, and in October 2005, defendants’ motion for judgment on the pleadings was granted with respect to Harris’s wrongful termination claim. In July 2006, after both Harris and the defendants filed summary judgment motions, the district court granted defendants summary judgment on the remaining claims in a sealed order. Harris appealed to this court and we affirmed in a memorandum disposition. Harris v.Super. Ct. of Ariz., 278 Fed.Appx. 719, 720-22 (9th Cir.2008). We denied defendants’ motion for attorneys fees incurred in connection with the appeal without comment or explanation.
Prior to our disposition of the appeal, defendants moved for attorneys fees in district court. The district court denied the motion without prejudice. After we denied Harris’s petition for rehearing of his appeal, defendants again moved in district court for attorneys fees, seeking $315,974.65 in fees under Arizona Revised Statutes §§ 12-341.0KA) and 41-148RJ) and 42 U.S.C. §§ 1988 and 2000e-5(k), non-taxable expenses of $53,533.66, and *970reasonable fees and costs for preparation of the fee petition.
In 2009, the district court granted in part and denied in part the fee motion, awarding defendants $85,514.84 in fees and $40,150.23 in non-taxable costs. It separated defendants’ claims into those it designated contracts-based, for which fees are available to prevailing defendants under Arizona Revised Statute § 12-341.01(A) so long as certain conditions apply; those it designated as federal civil rights claims, for which fees are available to prevailing defendants in very limited circumstances under 42 U.S.C. §§ 1988 and 2000e-5(k); and those it designated as state law claims sharing a common nucleus of operative facts with the federal civil rights claims. It determined that most of Harris’s basic civil rights claims, including his claims of disparate treatment, retaliation, and equal protection, were not frivolous, and thus that no attorneys fees were permissible for those claims. Similarly, it determined that his defamation and tortious interference claims were not frivolous, and awarded no fees on those claims. For Harris’s other claims it found fees to be appropriate.
Although the defendants were able to specifically attribute work amounting to only about $10,000 of attorneys fees to the claims for which the district court determined fees to be warranted, the district court calculated the amount attributable to these claims to be $171,104.84 by taking the $251,464.10 in “general fees” — fees that the defendants requested but that they were not able to allocate to any particular claim — and dividing them equally across the ten claims in Harris’s Amended Complaint, and then allocating to each claim for which it determined fees to be appropriate one-tenth of the total general fees. After calculating the amount of fees in this manner, the district court reduced the award by approximately half, to $85,514.84, in light of Harris’s financial hardship. With respect to expenses, the district court awarded a prorated amount of defendants’ requested expenses based on the ratio of contract-based claims (for which expenses are not available) to non-contract-based claims (for which, in the district court’s view, expenses were available). There was no reduction to the amount of expenses for financial hardship, however. Harris timely appealed.
II
The principal issues in this case are legal in nature and therefore reviewed de novo. See Tutor-Saliba Corp. v. City of Hailey, 452 F.3d 1055, 1059-60 (9th Cir.2006); see also Ramsey Air Meds, L.L.C. v. Cutter Aviation, Inc., 198 Ariz. 10, 13, 6 P.3d 315 (2000). Harris’s primary challenge is to the methodology that the district court used to determine the amount of fees attributable to those claims for which fees were appropriate. The remaining challenges involve which claims may appropriately be the subject of fee awards.
Defendants requested attorneys fees of $315,974.65. Some of this amount was allocated to specific claims, but it was not possible for the defendants to so allocate the vast majority of the fees. Accordingly, $251,464.10 of the fee amount requested by defendants was not associated with any specific claim, but instead was assigned to a category of “general fees.” The district court divided these general fees equally across the ten claims in Harris’s Amended Complaint, and then for each claim for which it determined that fees were appropriate, added the one-tenth of the general fees apportioned to that claim to the much smaller amount of fees the defendants asserted were specifically attributable to the defense of that claim. For instance, for the wrongful termination claim, which the district court determined was frivolous *971simply by examining the Amended Complaint, and on which the district court granted defendants judgment on the pleadings in March of 2005, 15 months before it reached its decision as to the other claims, the district court calculated the amount of fees to be $25,207.36: $25,146.41 from general fees and $60.95 from work that defendants asserted was specifically attributable to defending against that claim.
In a civil rights case, such as this one, the pro-rata allocation of general fees between claims for which a fee award is appropriate and claims for which such an award is not appropriate, based solely on the number of claims, is impermissible, for reasons that go to the heart of our civil rights policy. Congress and the courts have long recognized that creating broad compliance with our civil rights laws, a policy of the “highest priority,” requires that private individuals bring their civil rights grievances to court. See Newman v. Piggie Park Enterprises, Inc., 390 U.S. 400, 402, 88 S.Ct. 964, 19 L.Ed.2d 1263 (1968). Even when unsuccessful, such suits provide an important outlet for resolving grievances in an orderly manner and achieving non-violent resolutions of highly controversial, and often inflammatory, disputes. Guaranteeing individuals an opportunity to be heard in court instead of leaving them only with self-help as the means of remedying perceived injustices creates respect for law and ameliorates the injury that individuals feel when they believe that they have been wronged because society views them as inferior. Our system of awarding attorneys fees in civil rights cases is in large part dedicated “to encouraging individuals injured by ... discrimination to seek judicial relief.” See id.
In accordance with this objective, courts are permitted to award attorneys fees to prevailing plaintiffs as a matter of course, but are permitted to award attorneys fees to prevailing defendants under 42 U.S.C. §§ 1988 and 2000e-5(k), as well as A.R.S. § 41 — 1481(J), only “in exceptional circumstances,” Barry, 902 F.2d at 773 (9th Cir.1990): prevailing defendants may recover fees only for claims that are “frivolous, unreasonable, or groundless.” Christiansburg Garment Co., 434 U.S. at 422, 98 S.Ct. 694. To put a finer point on it, a defendant is entitled only to “the amount of attorneys fees attributable exclusively to” a plaintiff’s frivolous claims. See Tutor-Saliba Corp., 452 F.3d at 1064 (quoting Quintana v. Jenne, 414 F.3d 1306, 1312 (11th Cir.2005)); see also Fox v. Vice, 594 F.3d 423, 429 (5th Cir.2010) (“a defendant is only entitled to attorneys’ fees for work which can be distinctly traced to a plaintiffs frivolous claims”). This policy was adopted expressly in order to avoid discouraging civil rights plaintiffs from bringing suits, and thus “undercutting] the efforts of Congress to promote the vigorous enforcement of’ the civil rights laws. Christiansburg Garment Co., 434 U.S. at 422, 98 S.Ct. 694.
A civil rights case such as the instant one that contains both non-frivolous and frivolous claims presents the problem of allocating fees, among those claims. The proper allocation of attorneys fees among such claims, when a defendant seeks to recover fees, is both simple and obvious, at least in theory. Fees may be awarded only for frivolous claims, and a defendant bears the burden of establishing that the fees for which it is asking are in fact incurred solely by virtue of the need to defend against those frivolous claims. That is because here as in cases involving attorneys fees generally, “[t]he burden of establishing entitlement to an attorneys *972fees award lies solely with the claimant.”1 Trustees of Directors Guild of America-Producer Pension Benefits Plans v. Tise, 234 F.3d 415, 427 (9th Cir.2000) (citing Hensley v. Eckerhart, 461 U.S. 424, 437 n. 12, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983)). Accordingly, a defendant must demonstrate that the work for which it asserts that it is entitled to fees would not have been performed but for the inclusion of the frivolous claims in the complaint. To do otherwise — as when a court simply divides a defendant’s total attorneys fees equally across plaintiffs frivolous and nonfrivolous claims and attributes to the frivolous civil rights claims a pro-rata share of those total fees (with no demonstration that such fees were in fact incurred solely in order to defend against the frivolous claims)— would be to risk requiring a plaintiff to pay defendants’ attorneys fees incurred in defeating his nonfrivolous civil rights claims, an outcome barred by our precedent and that of the Supreme Court. Unless a prevailing defendant can establish that its attorneys would not have performed the work involved except for the need to defend against the frivolous claims (and thus would not have done the work in whole or in part in order to defend against the nonfrivolous claims), it is not entitled to the fees in question. Where, as here, the plaintiff seeks relief for violation of his civil rights under various legal theories based on essentially the same acts, and a number of his claims are not frivolous, the burden on the defendant to establish that fees are attributable solely to the frivolous claims is from a practical standpoint extremely difficult to carry. That burden is not carried when the method of allocation is that which was used either by defense counsel or the court.
Although some portion of the fees awarded to defendants by the district court — those associated with the claims that the district court deemed contraetsbased claims — were awarded under Arizona Revised Statute § 12-341.01 (A) rather than under the civil rights fee statutes discussed above, the same rule applies to those claims. First, § 12-341.01 itself makes clear that a fee award may not exceed the amount necessary to defend against those claims for which such fees are appropriate. See Ariz.Rev.Stat. § 12-341.01(B). Second, and more important, even the claims designated as “contraetsbased” by the district court allege violations of Harris’s civil rights — Harris alleged that defendants breached their contract with him by discriminating against him — and Arizona state policy with regard to attorneys fees for defendants in civil rights cases is intended to be “equally protective” of plaintiffs as is federal policy. See Sees v. KTUC, Inc., 148 Ariz. 366, 369, 714 P.2d 859 (Ariz.App.1985). Thus, under Arizona law it is impermissible to require a plaintiff to pay fees that a prevailing defendant incurred in whole or in part defending against nonfrivolous civil rights claims. Id. It would make little sense to allow a prevailing defendant to recover all or a portion of such fees simply because a plaintiff included a contracts-based claim in his complaint in addition to his non-frivolous civil rights claims. Accordingly, the only fees that may be attributed to Harris’s contracts claims for purposes of § 12.341.01(A) are those that the defen*973dants are able to demonstrate would not have been incurred but for the inclusion of those claims in the complaint. Thus it was error for the district court to attribute to each of the contracts claims a tenth of the “general” fees, with no demonstration that the work involved was actually performed solely in order to defeat those claims.
In determining its fee award, the district court relied on Cairns v. Franklin Mint, 292 F.3d 1139, 1157 (9th Cir.2002), in which this court allowed an apportionment of general fees among claims. Cairns, however, was not a civil rights case, and thus did not implicate our longstanding policy of solicitude for civil rights plaintiffs, and our insistence that they be required to reimburse defendants only for fees incurred in defense against “exceptionally]” unwarranted claims. See Barry, 902 F.2d at 773. Additionally, the general fees in this case were more than ninety percent of the total attorneys fees the court found reimbursable, a factor apparently not present in Cairns. Our other case cited by defendants in support of the district court’s methodology also did not concern fees to defendants in a civil rights case. See, e.g., Hudson v. Moore Bus. Forms, Inc., 898 F.2d 684 (9th Cir.1990) (concerning sanctions under Rule 11).
The district court made an identical error with respect to awarding fees for work that the defendants asserted was specifically attributable to individual claims for which fees were permissible. In addition to impermissibly dividing the “general” fees across all claims, defendants in many instances divided fees for specific work entries among different claims. For example, the $60.95 in fees that were purportedly attributable specifically to the defense against the wrongful termination claim was a result of two different time entries for legal research. One of those time entries was divided across four claims (with one quarter of the fee associated with that time entry allocated to each claim), including claims that the district court found were nonfrivolous. In other words, the fee purportedly attributable specifically to plaintiffs frivolous wrongful termination consisted in part of work that was also done for the purpose of defending against nonfrivolous claims. Defendants had similar entries for the specific fees for other claims, and, for at least one claim, hostile work environment, defendants did not list any work that was not performed for both frivolous and nonfrivolous claims. Such division of fees for specific time entries is impermissible for exactly the same reasons that a division of general fees across frivolous and nonfrivolous claims is impermissible. To reiterate, the only fees that may be awarded are those incurred for work performed exclusively in order to provide a defense against claims for which fees are permissible. If defendants do not demonstrate that the work would not have been performed in order to defend against the nonfrivolous civil rights, or to put it differently, but for the need to defend against the frivolous claims, fees associated with that work cannot be awarded, even in part.2
*974III
We next examine the district court’s decisions to award attorneys fees with respect to each of the claims for which it determined that fees were appropriate.
A. Contracts Claims
Arizona Revised Statute § 12-341.01 provides that “[i]n any contested action arising out of a contract, express or implied, the court may award the successful party reasonable attorney fees” in order “to mitigate the burden of the expense of litigation to establish a just claim or a just defense.” Ariz.Rev.Stat. § 12-341.01(A), (B). It is not, however, a fee shifting statute; as the Arizona Supreme Court has stated, “[m]ere eligibility [under § 12-341.01(A) ] does not establish entitlement to fees.” Wagenseller v. Scottsdale Mem’l Hosp., 147 Ariz. 370, 710 P.2d 1025, 1049 (1985) (en banc). Instead, a court deciding whether to award fees under the statute must consider the multifactor standard outlined in Associated Indemnity Corporation v. Warner, 143 Ariz. 567, 694 P.2d 1181 (Ariz.1985).3
Harris’s chief claim with regard to the fees for the claims for which the district court awarded fees under § 12-341.01(A) is that the claims did not “aris[e] out of a contract.” The proper inquiry for determining whether a claim “arisefs] out of a contract” is whether the “claim could not exist ‘but for’ the breach or avoidance of contract.” Ramsey Air Meds, L.L.C. v. Cutter Aviation, Inc., 198 Ariz. 10, 15, 6 P.3d 315 (Ariz.App. Div. 1, 2000); see also A.H. By and Through White v. Arizona Property and Cas. Ins. Guar. Fund, 190 Ariz. 526, 529, 950 P.2d 1147 (1997) (en banc). It is well established, moreover, that a defendant is entitled to attorney’s fees if the plaintiffs claims arise out of an alleged contract that is proven not to exist. See Chevron U.S.A. Inc. v. Schirmer, 11 F.3d 1473, 1480 (9th Cir.1993).
Here, Harris’s claims for breach of contract and the duty of good faith and fair dealing were explicitly premised on the existence of an implicit contract that *975the district court found did not exist, and thus were eligible for a fee award under A.R.S. § 12-341.01. Additionally, while different courts might reasonably reach different determinations as to whether a fee award was appropriate under the Associated Indemnity factors, we see no abuse of discretion in the district court’s decision to award fees for these two claims. As we explained above, however, because this is a civil rights case, in awarding such fees, the district court must under Arizona law include only fees for legal work that was not performed in whole or in part in order to defend against the nonfrivolous civil rights claims. See Sees, 148 Ariz. at 369, 714 P.2d 859. Thus, the award of fees in connection with this claim must be vacated as well.
Fees were not appropriate at all under § 12-341.01 (A) for Harris’s due process claim. “To state a cognizable due process claim” Harris was required to show “a recognized liberty or property interest at stake.” Guzman v. Shewry, 552 F.3d 941, 953 (9th Cir.2009) (internal quotation marks and citation omitted). Harris alleged that defendants deprived him of a property interest in continued employment, a claim apparently based on contract, but also alleged a liberty interest in being free from defamation. See id. at 955 (“A person’s liberty interest is implicated if the government levels a charge against him that impairs his reputation for honesty or morality” (internal quotation marks and citations omitted)). While the asserted property interest relied on the alleged contract, the liberty interest did not. Accordingly, Harris’s due process claim was not dependent on the existence of a contract: it could have advanced merely on the asserted liberty interest. Thus, fees were not available under § 12-341.01 for the due process claim.4
B. State and federal civil rights statutes
In addition to the fees sought under § 12-341.01, defendants also sought fees under three civil rights statutes — Arizona Revised Statute § 41-1481(J) and 42 U.S.C. §§ 1988 and 2000e-5(k). Under Arizona Revised Statute § 41 — 1481(J), “the court may allow the prevailing party ... a reasonable attorney’s fee”; under 42 U.S.C. § 1988(b), “[i]n any action or proceeding to enforce a provision of [42 U.S.C. § 1983], the court, in its discretion, may allow the prevailing party, other than the United States, a reasonable attorney’s fee as part of the costs”; and under 42 U.S.C. § 2000e-5(k), “[i]n any action or proceeding under [Title VII of the Civil Rights Act] the court, in its discretion, may allow the prevailing party, other than the [Equal Employment Opportunity] Commission or the United States, a reasonable attorney’s fee.” Fee awards to prevailing defendants under all three of these statutes are governed by the same standard: the court may award attorney’s fees only if it finds *976that “the plaintiffs action was frivolous, unreasonable, or without foundation, even though not brought in subjective bad faith.” Christiansburg Garment Co., 434 U.S. at 421, 98 S.Ct. 694; Hughes v. Rowe, 449 U.S. 5, 14, 101 S.Ct. 173, 66 L.Ed.2d 163 (1980); Sees, 714 P.2d at 862. “In determining whether this standard has been met, a district court must assess the claim at the time the complaint was filed, and must avoid post hoc reasoning by concluding that, because a plaintiff did not ultimately prevail, his action must have been unreasonable or without foundation.” Tutor-Saliba Corp., 452 F.3d at 1060 (quotation marks omitted).
The district court awarded fees for the following claims on the basis that they were frivolous, unreasonable, or without foundation: hostile work environment, false light/invasion of privacy, wrongful termination, and negligent or intentional infliction of emotional distress.5 For each of these claims, Harris challenges the district court’s determination that fees were appropriate.6

Hostile work environment based on gender and race

Although Harris made a single claim alleging that he had been subjected to a hostile work environment on account of his race and gender together, the district court treated this claim as two separate claims, one concerning race, one concerning gender. It found that Harris’s gender-based subclaim was frivolous because it was filed more than 300 days — -the time limit imposed by Title VII — after the last act of discrimination alleged by Harris that the district court categorized as gender-based. It did not determine that his race-based subclaim was untimely — it apparently categorized acts within the 300 day window as race based — but that instead it was frivolous because he did not allege severe and pervasive conduct based on his race, as would be required for relief under Title VII.
The district court erred in dividing the claim in two, and then treating half of it as frivolous because of Title VII’s statute of limitations and half as frivolous for a substantive reason. Harris claimed that his work environment was hostile because of discrimination against him as a black male, not that he was discriminated against as a male and then suffered separate discrimination as a black person. It is perfectly plausible that gender and race could together give rise to discrimination in the manner Harris alleged: he claimed that *977false sexual harassment allegations were made against him and that action was taken on these false charges because of the combination of his race and gender. Prejudiced individuals have long promulgated a pernicious image of black men as sexual predators; a view that they do not hold with respect to men of other racial backgrounds or with respect to black women. See, e.g., Powell v. State of Alabama, 287 U.S. 45, 53 S.Ct. 55, 77 L.Ed. 158 (1932). Courts, moreover, have properly shown solicitude for claims based on the intersection of different categories of discrimination. See Jefferies v. Harris Co. Community Action Ass’n, 615 F.2d 1025, 1032 (5th Cir.1980) (“discrimination against black females[could] exist even in the absence of discrimination against black men or white women”).
Nevertheless, the district court did not err in determining that the hostile work environment claim as a whole was frivolous. A hostile work environment claim requires inter alia “that the conduct was sufficiently severe or pervasive to alter the conditions of the victim’s employment and create an abusive working environment.” Pavon v. Swift Trans. Co., Inc., 192 F.3d 902, 908 (9th Cir.1999). The discriminatory conduct that Harris alleged fell short of meeting this condition, and Harris himself did not allege that the condition was met. While Harris’s allegations of discrimination were sufficient to make out a prima facie case of disparate treatment under Title VII, they were obviously insufficient for a hostile work environment claim.
Although the court may not have erred in determining that the claim was frivolous, it nonetheless erred in awarding substantial fees to defendants on this claim. Almost every time entry in defendants’ fee petition for work related to the hostile work environment claim was also listed as related to some or all of Harris’s nonfrivolous discrimination claims. As we have already explained, in a civil rights action with multiple claims, only some of which are groundless, a defendant is entitled only to those fees attributable exclusively to defending against plaintiff’s frivolous claims. If the work is performed in whole or in part in connection with defending against any of plaintiffs claims for which fees may not be awarded, such work may not be included in calculating a fee award. Accordingly, the fees properly attributable to this claim, if any, would be quite minimal.

False Light/invasion of Privacy

The district court found Harris’s false light/invasion of privacy claim frivolous because as a “limited purpose public figure [Harris] had no privacy interest in the allegations against him.” A person employed by the government is only a “public official” with limited privacy interests when he holds a position that “has such apparent importance that the public has an independent interest” in his performance, “beyond the general public interest in the ... performance of all government employees.” Rosenblatt v. Baer, 383 U.S. 75, 86, 86 S.Ct. 669, 15 L.Ed.2d 597 (1966). Under Arizona law, such a public official cannot sue for false light invasion of privacy if the publication about which he complains relates to his performance of his public duties. Godbehere v. Phoenix Newspapers, Inc., 162 Ariz. 335, 343, 783 P.2d 781 (Ariz., 1989).
The district court found that it was obvious that Harris was a public official of the relevant sort, as opposed to an ordinary government employee. Its only support for this conclusion, however, was a set of cases concerning law enforcement officers, who are presumptively public officials. See id. (“Police and other law enforcement personnel are almost always *978classified as public officials.”). Such cases are an insufficient basis on which to conclude that the issue raised by Harris— whether a hearing officer or similar low level judicial officer is so important a public employee that the public’s interest in him is “beyond the general public interest in the ... performance of all government employees” — has been answered “clearly by ... precedent,” as the district court was required to do before deeming the false light claim in this case frivolous. See Gibson, 561 F.3d at 929. Even in cases that do not involve civil rights, we have been extremely hesitant to find claims meritless; the bar is higher still when considering the claims of a plaintiff seeking vindication of his civil rights. See Taylor AG Indus, v. Pure-Gro, 54 F.3d 555, 563 (9th Cir.1995) (finding that a claim was not “wholly without merit” despite negative cases from seven other circuits and the Supreme Court because no case in this circuit had so held); see also Hughes v. Rowe, 449 U.S. 5, 16 &amp; n. 13, 101 S.Ct. 173, 66 L.Ed.2d 163 (1980) (the fact that a petitioner’s claims, even where they failed to state a claim on which relief could be granted, warranted the “detailed” consideration of a seven page district court opinion indicated that they were not frivolous). Harris’s false light claim did not in any way approach the level of futility required to treat its outcome as obvious and the claim as being without merit; instead, it presented a question that, so far as we are aware, has not been previously answered by any court. Rather than being frivolous, it performed the salutary function of giving a court the opportunity to address a previously unanswered question.

Wrongful termination

To prevail on a wrongful termination claim under Arizona law, a plaintiff must demonstrate that an employment relationship was terminated in violation of a state statute that does not provide its own remedy for statutory violations. See Ariz. Rev.Stat. § 231-1501(3)(b); Taylor v. Graham County Chamber of Commerce, 201 Ariz. 184, 33 P.3d 518, 521-26 (2001). Harris identified as the only bases for his wrongful termination claim a federal statute and an Arizona statute that provides it own remedy for a statutory violation. Because the result of such a patently inadequate claim is obvious, the district court did not err by determining that it was frivolous. See Gibson, 561 F.3d at 929. Of course, the fees properly attributable to this claim, which placed on defendants only the burden of examining the basic legal requirements for such a claim, which are set forth on the face of the statute, would unquestionably be quite small.

Negligent or intentional infliction of emotional distress

The district court relied on an erroneous legal standard to reach its determination that Harris’s negligent infliction of emotional distress claim was frivolous. Arizona law requires that emotional distress “result[ ] in illness or bodily harm” in order to recover for negligent infliction of emotional distress. Keck v. Jackson, 122 Ariz. 114, 593 P.2d 668, 669 (1979). According to the district court, Harris’s claim was frivolous because he failed to allege in his complaint that he had suffered any physical injury; instead he alleged only that he had suffered “severe emotional distress.” “Bodily harm,” however, is a broader concept under Arizona law than might be suggested by the common usage of the term. In particular, it comprehends “substantial, long-term emotional disturbances” unaccompanied by any physical injury, see Monaco v. HealthPartners of Southern Arizona, 196 Ariz. 299, 303, 995 P.2d 735 (Ariz.App. Div. 2 1999). Accordingly, Harris’s invocation of “severe emo*979tional distress” in his complaint appears sufficient as a matter of pleading.
This sufficiency is, perhaps, reflected in the fact that defendants did not seek judgment on the pleadings as to this claim. On that point, we note that it was unreasonable for the defendants to seek, and for the district court to grant, substantial attorney’s fees on the ground that Harris failed to plead a required element of his claim when defendants failed to challenge the pleading as insufficient at an earlier point in the proceedings.
The district court made a different but related error with respect to Harris’s intentional infliction of emotional distress claim. The district court found this claim to be frivolous because “Plaintiff allege[d] in his Amended Complaint that he was falsely accused of sexual harassment, and that such allegations tarnished his reputation,” and it was clear from the complaint that “this conduct was not sufficient to bring an IIED claim,” which requires “extreme and outrageous” conduct by the defendants. Four years earlier, however, when deciding whether to grant the defendants judgment on the pleadings, the district court said of exactly the same claim, “Plaintiffs’ allegations regarding Defendants’ conduct, if true, may suffice for extreme and outrageous conduct.” In Christiansburg, the Supreme Court cautioned that district courts must “resist the understandable temptation to engage in post hoc reasoning by concluding that, because a plaintiff did not ultimately prevail, his action must have been unreasonable or without foundation.” Christiansburg, 434 U.S. at 421-22, 98 S.Ct. 694. Here, the district court appears to have succumbed to the very understandable temptation of which the Supreme Court warned. The fee award as to this claim cannot stand on the ground asserted by the district court.
IV
The district court also awarded defendants fees incurred in preparing their motion for attorneys fees. This court has held that fees can be recovered for preparing a motion for attorneys fees under 42 U.S.C. §§ 1988(b) and 2000e-5(k). See McGrath v. County of Nev., 67 F.3d 248, 253 (9th Cir.1995) (§ 1988(b)); Manhart v. City of Los Angeles, Dept. of Water and Power, 652 F.2d 904, 909 (9th Cir.1981) (§ 2000e-5(k)). Similarly, Arizona law supports the recovery of attorneys fees for the preparation of a successful fee application. See generally Schweiger v. China Doll Rest., Inc., 138 Ariz. 183, 673 P.2d 927, 931-32 (1983). Such awards are, of course, subject to the same reasonableness determination as all other attorneys fees awards, including considering the results obtained by the party seeking the award. See Blanchard, 489 U.S. 91 n. 5. On remand, the district court shall evaluate whether fees for defendants’ fee motion are still proper in light of this opinion, and the amount of fees that ultimately should be awarded, if any.
V
Harris also challenges the district court’s award of nontaxable expenses. Defendants sought $53,533.66 in nontaxable expenses such as computerized legal research, factual investigation, and photocopying. The district court, noting that expenses are not available under Arizona Revised Statute § 12-341.01, see Ahwatukee Custom Estates Mgmt. Ass’n, Inc. v. Bach, 193 Ariz. 401, 973 P.2d 106, 109 (1999), awarded expenses for the claims that it designated as not arising from a contract. Because defendants did not break down their expenses on a claim by claim basis, the district court simply “prorated” defendants’ expenses: by the district court’s count, two and one-half of *980Harris’s ten claims were contract-based, and seven and one-half were not, so the district court awarded defendants 75% of the expenses that they reported.
Harris does not challenge the potential availability of expenses to a prevailing defendant as part of an attorney fee award under Arizona Revised Statute § 41-148KJ) and 42 U.S.C. §§ 1988 and 2000e-5(k). He does, however, correctly contend that expenses are recoverable only as “part of the award of attorney’s fees,” Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir.1994), and thus that defendants may recover their out-of-pocket expenses only with respect to claims for which attorney’s fees were recoverable — in other words, Harris’s frivolous claims, and not simply all of his non-contractual claims. The district court, accordingly, erred by awarding expenses with respect to claims for which no award of attorneys fees was appropriate.
Additionally, the district court erred in its equal division of expenses across claims. Again, because expenses are part of the attorneys fees award, they are recoverable only on the terms on which attorneys fees are recoverable. Thus, only those expenses are recoverable that the defendants can demonstrate were incurred solely with respect to frivolous claims and that would not have been incurred in whole or in part with respect to any of the nonfrivolous claims.7 Defendants’ expense petition, which does not allocate defendants’ substantial expenses to the claims for which they were incurred, is plainly insufficient.
VI
Harris’s briefs are scattershot affairs containing numerous issues, many of which are insufficiently developed. Those issues that we have not previously addressed lack merit. Only one requires any discussion. Harris contends that because we denied defendants attorneys fees for his appeal of the dismissal of the underlying action, the district court was barred from awarding attorneys fees by the law of the case doctrine. Our prior decision not to award attorneys fees to defendants for Harris’s appeal of the district court’s award of summary judgment in favor of defendants included no determination that would bar an award of attorneys fees by the district court for the underlying case; we simply exercised our discretion and declined to award fees for work done on appeal. See Thomas v. Bible, 983 F.2d 152, 154 (9th Cir.1993).
VII
For the reasons stated above, we vacate the award of attorneys fees and remand to the district court for further proceedings consistent with this opinion.
VACATED AND REMANDED.

. There is no reason to make an exception for defendants in civil rights cases. Prevailing defendants seeking recovery of attorneys fees in civil rights cases do not, like prevailing plaintiffs, vindicate important federal policy or receive fees from a transgressor of federal law. Christiansburg, 434 U.S. at 418, 98 S.Ct. 694. Whether the general rule, imposing the burden on the proponent of a fee petition, applies to civil rights plaintiffs, however, is a question that we need not resolve in this case.


. In Tutor-Saliba Corp. v. City of Hailey, we determined that where a plaintiff in a § 1983 action alleges multiple interrelated claims based on the same underlying facts, and some of those claims are frivolous and some are not, a court may award defendants attorneys fees with respect to the frivolous claims only when those claims are not "intertwined.” See 452 F.3d at 1063-64. We determined that the claims in that case were not "intertwined” because they were “distinct” in that "the merits of each claim could easily be evaluated separately,” in significant part because the facts were both simple and undisputed; and the claims were argued separately throughout the case. Id. at 1064. The cir*974cumstances in this case are quite different. The facts are neither undisputed nor simple, and the research required to evaluate and develop arguments with respect to many of Harris's purportedly frivolous claims was substantially the same as that necessary to the defense against his nonfrivolous discrimination claims, including disparate treatment, retaliation, and equal protection. Nevertheless, because Harris does not assert that his frivolous and nonfrivolous claims were so intertwined as to make a fee award with respect to the frivolous claims inappropriate, we do not reach that issue here and express no view as to which if any of Harris's frivolous claims might be exempted from reimbursement of defendants' fees under Tutor-Saliba. In cases in which particular frivolous claims are determined to be intertwined with nonfrivolous claims, the Tutor-Saliba approach may make it unnecessary to examine the particular work performed to the extent required under the rules set forth above, if at all. In contrast, where the Tutor-Saliba approach is not applicable, it will be necessary to apply the principles enumerated herein.


. The Associated Indemnity factors are: “(1) whether the unsuccessful party’s claim or defense was meritorious; (2) whether the litigation could have been avoided or settled and the successful party's efforts were completely superfluous in achieving the result; (3) whether assessing fees against the unsuccessful party would cause an extreme hardship; (4) whether the successful party prevailed with respect to all of the relief sought; (5) whether the legal question presented was novel and whether such claim or defense have previously been adjudicated in this jurisdiction; and (6) whether the award would discourage other parties with tenable claims or defenses from litigating or defending legitimate contract issues for fear of incurring liability for substantial amounts of attorney's fees.” Wagenseller, 710 P.2d at 1049.


. Defendants contend that Harris waived this argument by failing to raise it below. Harris did suggest in district court that the only claims for which fees under § 12-341.01 might be appropriate were the breach of contract and the breach of the covenant of good faith and fair dealing claims, but he did not make his arguments regarding the due process claim explicitly or clearly. In any case, “where an issue is purely legal, and the other party would not be prejudiced, we can consider an issue not raised below.” Engquist v. Oregon, Dept. of Agriculture, 478 F.3d 985, 996 n. 5 (9th Cir.2007). The question of whether the due process claim arises from contract is a “purely legal issue, the injection of which would not have caused the parties to develop new or different facts,” International Ass’n of Machinists and Aerospace Workers, AFL-CIO v. Aloha Airlines, Inc., 790 F.2d 727, 732 -733 (9th Cir.1986), and defendants do not contend that they would be prejudiced by our considering it.


. It also found that Harris had asserted a frivolous disparate impact claim, because Harris failed to identify an outwardly neutral practice with a disparate impact on a protected class. See Katz v. Regents of the Univ. of Cal., 229 F.3d 831, 835 (9th Cir.2000). Harris's Amended Complaint, however, includes no disparate impact claim; it appears that he did not properly plead the elements of the claim because he did not make the claim in the first place. It is, however, not necessary to explore why the district court identified and passed judgment on a claim absent from the Complaint, as in the end it awarded no fees with respect to it.


. The district court found that the defendants could seek attorneys fees for Harris’s pendant state law claims (in addition to his federal civil rights claims) under the civil rights fee statutes because these state law claims arose from a common nucleus of operative fact with a substantial federal claim. In order to reach that conclusion, the district court relied on a case from the Seventh Circuit, Munson v. Milwaukee Bd. of Sch. Dirs., 969 F.2d 266, 271-72 (7th Cir.1992). Whether fees are available to defendants for such claims under § 1988 and the other civil rights fee statutes is an open question in our Circuit. We do not address it here because Harris failed to challenge the district court’s decision on this point. Accordingly, our discussion of these claims should not be read as an endorsement of Munson's reasoning or of the district court's conclusion.


. We note, additionally, that the expenses submitted by defendants were woefully lacking in detail. For instance, although the invoices from Investigative Research, Inc. submitted by defendants ran into the thousands of dollars, the claims for which these expenses were incurred were not identified, and nowhere in the application for expenses was there a description of the work performed by Investigative Research, Inc. other than the notation "for professional services rendered” on the invoice from the company. This showing falls short of the requirement that a party seeking to recover expenses submit a "task-based” statement in which it "identifies] each related nontaxable expense with particularity” so that such expenses can be verified. See District of Arizona, Local Rule of Civil Procedure 54.2(d), (e).

